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                                United States District Court
                                          for the
                                Southern District of Florida
   Jiangmen Benlida Printed Circuit          )
   Co., Ltd., Counter-Defendant,             )
                                             )
   v.                                        ) Civil Action No. 21-60125-Civ-Scola
                                             )
   Circuitronix, LLC, Counter-               )
   Plaintiff.                                )
                           Omnibus Order on Pretrial Motions
         On October 3, 2023, the Court held a hearing on the parties’ motions in
  limine and to exclude expert witness testimony. (C. Def.’s Mot., ECF No. 196;
  C. Pl.’s Mot. to Excl., ECF No. 197; C. Pl.’s Mot. in Lim., ECF No. 198.) For the
  reasons stated in open court and as further described below, the Court grants
  in part and denies in part all three motions (ECF Nos. 196, 197, 198).

        1. Circuitronix’s Motion in Limine (ECF No. 198)
  •     § 1. Any of Benlida’s damages computation beyond that pleaded in the
        complaint (Pl.’s Mot. in Lim. at 2–7): Denied as moot, as a result of the
        Court’s summary-judgment order.
  •     § 2. Debts Circuitronix (Hong Kong) Ltd. (“CTX-HK”) allegedly owes Benlida
        (id. at 7–8): Granted—Benlida is precluded from presenting evidence of CTX-
        HK’s debts or Circuitronix’s responsibility therefor.
  •     § 3. Debts barred by the statute of limitations (id. at 9–12): Denied (as to
        Circuitronix’s own debts); denied as moot (as to CTX-HK’s debts).
  •     § 4. Records of Circuitronix’s account that Benlida did not produce during
        discovery (id. at 12–13): Denied as moot.
  •     § 5. Circuitronix’s experts’ testimony regarding “related party” status (id. at
        13–16): Granted.
  •     § 6. Assertions contradicting Benlida’s judicial admissions (id. at 16–17):
        Granted by agreement.
  •     § 7. References to the parties’ other lawsuits or alleged litigiousness (id. at
        17): Granted by agreement.
  •     § 8. The parties’ 2022 settlement agreement and CTX’s termination thereof
        (id. at 18): Granted by agreement.
  •     § 9. Benlida’s (or ROK’s) entire print run of invoices (id. at 18–19.): Granted
        as to the entire print run; however Benlida may introduce the invoices listed
        in its complaint that were issued to Circuitronix (but not to CTX-HK).
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     2. Benlida’s Motion in Limine (ECF No. 196)
        The Court grants Benlida’s motion, in part, precluding Circuitronix from
  presenting expert testimony as to Chinese law but reserves ruling, in part, as
  to any lay testimony that may incidentally refer to such issues. The Court
  denies Benlida’s motion, however, to the extent it seeks to exclude evidence
  related Benlida’s trade-credit insurance, with the understanding that Benlida
  can request an appropriate limiting instruction to the jury.

     3. Circuitronix’s Motion to Exclude or Limit Benlida’s Rebuttal
        Expert’s Testimony (ECF No. 197)
         To the extent Benlida has agreed not to introduce its rebuttal expert’s
  testimony regarding the $3 to $8 million he says Benlida is owed, Circuitronix’s
  motion is denied as moot. But, for the same reasons that the Court has
  excluded evidence related to CTX-HK’s debts or Circuitronix’s liability for those
  debts, the Court grants the motion in part. Accordingly, Benlida may not
  introduce its rebuttal expert’s testimony to the extent he opines on
  Circuitronix’s experts’ failures to account for CTX-HK’s debts and on the
  relationship between Circuitronix and CTX-HK.
        Done and ordered in Miami, Florida, on October 3, 2023.


                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
